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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                     ENTERED
                           UNITED STATES DISTRICT COURT                          August 23, 2022
                            SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                                 LAREDO DIVISION


IN RE:                                        §
                                              §
ASSOCIATED PRESS ET AL.                       §
                                              §
                                              §     CIVIL ACTION NO. 5:22-MC-00111
                                              §
                                              §

                  ORDER OF REFERENCE TO MAGISTRATE JUDGE
       This case is hereby REFERRED to Magistrate Judge Andrew M. Edison for the following

purposes:

       (___) Plenary pre-trial handling.

       (_X_) Ruling on non-dispositive motion(s).

       (_X_) Findings of fact and recommendations of law on dispositive motion(s).

       Dkt. 1 – Application to Unseal Court Records

       IT IS SO ORDERED.

      SIGNED this August 23, 2022.



                                                     _______________________________
                                                     Diana Saldaña
                                                     United States District Judge




1/1
